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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                    )       CASE NO. 1:07CR494 (Defendant #2)
                                             )
                                             )      JUDGE PETER C. ECONOMUS
                      Plaintiff,             )      Magistrate Judge George J. Limbert
                                             )
               v.                            )
                                             )
RICARDO M. MOYA,                             )       REPORT AND RECOMMENDATION
                                             )       OF MAGISTRATE JUDGE
                      Defendant.             )



       Pursuant to General Order 99-49, this case was referred to United States Magistrate Judge

George J. Limbert for the purposes of receiving, on consent of the parties, Defendant’s offer of

a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim

record of the proceedings to be prepared, referring the matter for presentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered. The following, along with the transcript or other record

of the proceedings submitted herewith, constitutes the Magistrate Judge’s Report and

Recommendation concerning the plea of guilty proffered by Defendant.

       1.      On August 19, 2008, Defendant Ricardo M. Moya, accompanied by Attorney

Jerome M. Emoff, and through Interpreter Dinorah Bialostosky, proffered a plea of guilty to

Counts 1through 4 of the indictment.

       2.      Prior to such proffer, Defendant Ricardo M. Moya was examined as to his
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competency, advised of the charges and consequences of conviction, informed that the Court is

not bound to apply the Federal Sentencing Guidelines but must consult the guidelines and take

them into consideration when it imposes the sentence and of the possibility of a departure from

the Guidelines, notified of his rights, advised that he was waiving all of his rights except the

right to counsel, and, if such were the case, his right to appeal, and otherwise provided with the

information prescribed in Fed. Crim. R. 11.

        3.     Counsel informed the Court that there was a written, signed plea agreement

between the parties. The undersigned was also advised that no commitments or promises have

been made by any party, and no other agreements, written or unwritten, have been made between

the parties.

        4.     The undersigned questioned Defendant Ricardo M. Moya under oath about the

knowing, intelligent and voluntary nature of the plea of guilty, and the undersigned believes that

Defendant Ricardo M. Moya’s plea was offered knowingly, intelligently, and voluntarily.

        5.     The parties provided the undersigned with sufficient information about the

charged offenses and Defendant Ricardo M. Moya’s conduct to establish a factual basis for the

plea.

        In light of the foregoing, and the record submitted herewith, the undersigned concludes

that Defendant Ricardo M. Moya’s plea was knowing, intelligent, and voluntary and all

requirements imposed by the United States Constitution and Fed. R. Crim. P. 11 have been

satisfied.




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       Accordingly, the undersigned recommends that the plea of guilty be accepted and a

finding of guilty be entered by the Court.



Date: August 19, 2008                              /s/George J. Limbert
                                              George J. Limbert
                                              United States Magistrate Judge


       ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of
Court within ten (10) days of service of this notice. Failure to file objections within the specified
time WAIVES the right to appeal the Magistrate Judge’s recommendation. See Thomas v. Arn,
474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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